                        IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF IOWA CEDAR
                                   RAPIDS DIVISION


TRACEY K. KUEHL, et al.,                             )
                                                     )
                     Plaintiffs,                     ) Case No. C14-02034-JSS
       v.                                            )
                                                     )
                                                       Certificate of Service
PAMELA SELLNER, et al.,                              )
                                                     )
                     Defendants.                     )
                                                     )
                                                     )

                                   CERTIFICATE OF SERVICE

       I, Jessica L. Blome, hereby certify that I filed the following documents in the Court’s

Electronic Case Filing System (ECF) this 1st day of July, 2015, which were then served upon all

counsel of record:

   •   Plaintiffs’ Newly Discovered Evidence and Exhibit 15


   Date: July 1, 2015                        /s Jessica L. Blome
                                                     Jessica L. Blome




                                        1
            Case 6:14-cv-02034-JSS Document 34 Filed 07/01/15 Page 1 of 2
Larry J. Thorson                  Daniel J. Anderson (IA Bar No. 20215)
ACKLEY KOPECKY & KINGERGY,        danderson@wertzlaw.com
L.L.P.
                                  WERTZ & DAKE
4056 Glass Road, NE
                                  1500 Center St. NE #101
Cedar Rapids, IA 52402
                                  Cedar Rapids, IA 52402-5500
Ph. (319) 393-9090
                                  319.861.3001
Fax (319) 393-9012
Email lthorson@akklaw.com


ATTORNEY FOR DEFENDANTS
                                  Jessica L. Blome (pro hac vice)
                                  Missouri Bar No. 59710
                                  jblome@aldf.org

                                  Jeff Pierce (pro hac vice)
                                  California Bar No. 293085
                                  jpierce@aldf.org

                                  ANIMAL LEGAL DEFENSE FUND
                                  170 E. Cotati Avenue
                                  Cotati, CA 94931
                                  707.795.2533

                                  ATTORNEYS FOR PLAINTIFFS




                                  2
      Case 6:14-cv-02034-JSS Document 34 Filed 07/01/15 Page 2 of 2
